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 2
 3                UNITED STATES DISTRICT COURT W.D. OF WASHINGTON AT TACOMA
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        UNITED STATES OF AMERICA,
 6                                                                Case No. CR07-5001RBL
                                 Plaintiff,
 7                                                                INITIAL ORDER RE:
                          v.                                      ALLEGATIONS OF
 8                                                                VIOLATION OF
        ELIZABETH MICHELLE WRIGHT,                                CONDITIONS OF
 9                                                                SUPERVISION
                                 Defendant.
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            THIS MATTER comes on for an initial hearing on the Petition of the United States Probation
12   Office alleging that the defendant has violated the conditions of supervision.

13              The plaintiff appears through Assistant United States Attorney, DAVID JENNINGS.

14              The defendant appears personally and represented by counsel, PAULA OLSON.

15              The U.S. Probation Office has filed a petition alleging violations of the terms and conditions of
                supervision, and the defendant has been advised of the allegation(s).
16
             The court finds probable cause with regard to the allegation(s) and schedules a hearing on the
17          petition to be held at the time and date below set forth before Judge RONALD B. LEIGHTON:

18                             Date of hearing:      APRIL 9, 2009

19                             Time of hearing:      9:00 A.M.

20              IT IS ORDERED that the defendant:

21              ( ) Be released on an appearance bond, subject to the terms and conditions set forth thereon.

22              (X) Be detained for failing to show that he/she will not flee or pose a danger to any other person
                    or the community pursuant to CrR 32.1(a)(1), and CrR 46(c), to be delivered as ordered
23                  by the court for further proceedings.

24           The clerks shall direct copies of this order to counsel for the United States, to counsel for the
     defendant, the United States Marshal and to the United States Probation Office and/or Pretrial Services
25   Office.

26                                                          March 27, 2009.

27
                                                               /s/ J. Richard Creatura
28                                                          J. Richard Creatura, U.S. Magistrate Judge


     ORDER
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